         Case 13-37292 Document 218 Filed in TXSB on 03/08/16 Page 1 of 4



                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In Re:
                                                                                     Chapter 11
                                                                       Case No. 13-37292-H2-11

TONY MCCLUNG, Debtor,


MTGLQ INVESTORS, L.P. , Creditor,



          NOTICE OF APPEARANCE AND REQUEST TO RECEIVE NOTICES



         Comes now BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP pursuant to

Bankruptcy Rules 2002, 9007, 9008 and 9010, and files this Notice of Appearance and

Demand for Service of Papers as Counsel for MTGLQ INVESTORS, L.P., party in interest in

the captioned proceedings.

         Request is hereby made that all notices given or required to be given in this case and in

any cases consolidated herewith, and all papers served or required to be served in this case and

in any cases consolidated herewith, be given to and served upon the undersigned attorneys at

the address and telephone number as follows:

                  BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
                          15000 SURVEYOR BLVD SUITE 100
                                 ADDISON, TX 75001
                                   (972) 341-0500

         This request encompasses all notices and pleadings including, without limitation,

notices of any orders, motions, pleadings or requests, formal or informal applications,

disclosure statement or plan of reorganization or any other documents brought before this



bkusbk_NOA.rpt-01/Southern/HOUSTON/00000005873013                                          Page 1 of 4
        Case 13-37292 Document 218 Filed in TXSB on 03/08/16 Page 2 of 4



Court in this case.

              This Notice of Appearance shall not be construed as authorization to serve counsel

for MTGLQ INVESTORS, L.P. with any summons and complaint or any service of process

under Bankruptcy Rule 7001, et. seq. The undersigned firm will not accept service of process

in any adversary case for MTGLQ INVESTORS, L.P..

         BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP, additionally requests that

the Debtor and the Clerk of the Court place the name and address of the undersigned attorney

on any mailing matrix to be prepared or existing in the above-numbered case, and on any list

of creditors to be prepared or existing in the above-numbered bankruptcy case.


                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP


                                    BY: /s/ STEVE TURNER                         03/08/2016
                                        STEVE TURNER
                                        TX NO. 20341700
                                        610 WEST 5TH STREET SUITE 602
                                        AUSTIN, TX 78701
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                                        ATTORNEY FOR CREDITOR




bkusbk_NOA.rpt-01/Southern/HOUSTON/00000005873013                                             Page 2 of 4
        Case 13-37292 Document 218 Filed in TXSB on 03/08/16 Page 3 of 4



                                     CERTIFICATE OF SERVICE

      I hereby certify that on March 08, 2016, a true and correct copy of the Notice of

Appearance and Request for Duplicate Notice was served via electronic means as listed on the

Court's ECF noticing system or by regular first class mail to the parties listed on the attached list.



                                            Respectfully submitted,

                                            BARRETT DAFFIN FRAPPIER
                                            TURNER & ENGEL, LLP


                                            BY: /s/ STEVE TURNER                          03/08/2016
                                                STEVE TURNER
                                                TX NO. 20341700
                                                610 WEST 5TH STREET SUITE 602
                                                AUSTIN, TX 78701
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bkusbk_NOA.rpt-01/Southern/HOUSTON/00000005873013                                             Page 3 of 4
        Case 13-37292 Document 218 Filed in TXSB on 03/08/16 Page 4 of 4



BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

DEBTORS:
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bkusbk_NOA.rpt-01/Southern/HOUSTON/00000005873013                          Page 4 of 4
